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AQ 440 (Rev. 06/12} Summons ina Civil Action

 

 

 

 

 

   

 

 

 

 

 

 

 

KATHERINE-E. SETO

Plaintiffis)

¥. Civil Action No. 4:21-cv-03886

HEALTHCARE REVENUE RECOVERY GROUP,
LEG ‘

NE MR ee Nae OR ee te et

Defendant(s:

SUMMONS IN A CIVIL ACTION
a
To: (Defendant's name and address) HEALTHCARE REVENUE RECOVERY GROUP, LLC
‘ clo REGISTERED AGENT
CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301-2525

i

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you

are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. , ™
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or.a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, t
whose name and address are: Nathan C. Volheim "

Sulaiman Law Group, Ltd. “

2500 South Highland Ave., Suite 200
Lomoard, Ulinois 66148

4a
Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Nathan Ochsner, Clerk of Court

 
 
 

Date: November 30, 2021 I Ne Sane a?
"4 s/ Blsom
Signature of Clerk or Deputy Clerk ’

 
Case 4:21-cv-03886 Document 8 Filed on 12/13/21 in TXSD Page 2 of 2

AFFIDAVIT OF SERVICE . Job #7214992

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Cilent Info:

Nathan C, Volheim

Sulaiman Law Group, Lid.

2500 South Highland Ave,, Suite 200
Lombard, THinois 60148

 

Case Info:

 

PLAINTIFF: “ : USOC FOR THE SOUTHERN DISTRICT OF TEXAS
KATHERINE E. SETO ‘ a

-VErSUS- Court Case # 4:21-cv-03886
DEFENDANT: .

HEALTHCARE REVENUE RECOVERY GROUP, LLC

Service Info:

i

 

Received by BRENNAN FOGARTY: on December, 6th 2021 et 10:03 AM

Service: 1 Served HEALTHCARE REVENUE RECOVERY GROUP, LLC c/o REGISTERED AGENT CORPORATION SERVICE
COMPANY

With: SUMMONS IN A CIVIL ACTION, COMPLAINT

by leaving with Kaneisha Gress, AUTHORIZED TO ACCEPT

AE Business 1201 HAYS STREET TALLAHASSEE, FL 32361 :

On 22/6/2021 at 61:55 PM "
Manner of Service: CORPORATE .

CORPORATE SERVICE: F.S. 48.081 (1 falbici(d}, (23 or (3)

My name is BRENNAN FOGARTY | declare under penalty of perjury that the foregoing is true and correct. Executed'in Leon
County, State of FL, onthe 06th day of December, 2021

 

 

 

Certified process server identification number 230 8
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4 cpa on es
Pe we Ln a Bite Waa AND ich to before me this
etn, we poner day of Tre Ce MBER | 20°, by BRENNAN FOGARTY,
if Oi, se aie Proved to me on the basis of satisfactory evidence to be the
Signate of Servet ye eee persan(s} who appeared before me by:
A BRENNAN FOGARTY 0-7 DO physical presence [J] online presence.

Lic # 230 . Ne

wa aot Pte, BENJAMIN W. YOUNG

Le ee" Commission # GG 934019

ACCURATE SERVE OF PLANTATION Expires November 24, 2023 .
151 8 NOB HILL ROAD, SUITE #254 Bonded Thea Budget Notary Serviees: .

 

Plantation, FL 33324

 

Chent ¥# 2021007246
Job # 7214992

 

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